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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
ARGONAUT INSURANCE COMPANY,
                                                                         No.: 1:21-cv-02690-AJN

                                   Plaintiff,                            NOTICE OF VOLUNTARY
                                                                         DISMISSAL WITHOUT
        v.                                                               PREJUDICE

MATTHEW D. ROSEN, MARVIN ROSEN, PHILIP D.
TURITS, JOHN ROSEN, MICHAEL DEL GUIDICE,
LARRY BLUM, WILLIAM RUBIN, PAUL O’BRIEN,
HOLCOMBE T. GREEN, JR., HOLCOMBE T.
GREEN, III, LEWIS DICKEY, and RAFE DE LA
GUERONNIERE,

                                    Defendants.
-------------------------------------------------------------------- X

        PLEASE TAKE NOTICE, that the above-entitled action against all Defendants shall be

and hereby is dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), without prejudice, without costs,

or disbursements, or attorneys’ fees to any party.

Dated: New York, New York
       August 23, 2021



                                                              Robinson & Cole LLP
                                                              Attorneys for Plaintiff
                                                              ARGONAUT INSURANCE COMPANY

                                                         By: /s/ Erica J. Kerstein
                                                            Erica J. Kerstein, Esq.
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  Case 1:21-cv-02690-AJN Document 61 Filed 08/23/21 Page 2 of 2




SO ORDERED, this __ day of August, 2021.

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